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OFFICE STATION # AREA DAYS OPEN HOURS |CONTACT NUMBERS

ALICE 302 3A6 MON - FRI 8:00 - 5:00 |361-664-2113

300 S JOHNSON 361-664-0330 FAX

718332

ARANSAS PASS 925 3A6 MON - FRI 8:00 - 5:00 [361-758-8680

913 S. COMMERCIAL NO CDL DRIVE 361-758-1557 FAX

78336 TESTS

BEEVILLE 303 3A6 MON - FRI 8:00 - 5:00 1361-358-6272

400 HILLSIDE DRIVE 361-362-1232 FAX

78102

BROWNSVILLE 304 3A3 MON, WED - FRI 8:00-5:00 [956-983-1920

2901 PAREDES LINE ROAD TUESDAY 8:00-6:00 |956-983-1968 FAX

78526

CORPUS CHRISTI 301 3A5 MON - THUR 7:30-6:00 |361-698-5626

1922 S. PADRE ISLAND DR FRIDAY 7:30-5:00 [361-698-5579 FAX

78416

CRYSTAL CITY 305 3A7 MON - FRI 8:00-4:30 |830-374-2222

200 UVALDE ST, STE 6 (COURT) CLOSED LUNCH 12:00 - 1:15 830-374-9639 FAX

78839

DEL RIO 412 3A7 MON - FRI 8:00 - 5:00 830-703-1225

2012 VETERANS BLVD. 830-774-0227 FAX

78840

EAGLE PASS 413 3A7 MON - FRI 8:00-5:00 [830-773-5050

32 FOSTER-MALDONADO BLVD 830-757-5028 FAX >

78852

FALFURRIAS 376 3A6 THURSDAY 9:00 - 4:00 = |361-325-4500 EXT. 3

217 E MILLER (KINGSVILLE) CLOSED FOR DRIVE TEST} 11:00 - 2:00

BROOKS CO. - BLUMER BLDG. LUNCH

78355

GEORGE WEST 373 3A6 TUES & WED 9:00-4:00 [361-449-2733

301 HOUSTON (BEEVILLE) CLOSED FOR DRIVE TES] 11:00- 1:00 JEXT. 1023

LIVE OAK COURTHOUSE ANNEX ROOM 14 LUNCH

78022

HARLINGEN 308 3A3 MON, WED - FRI 8:00-5:00 |956-440-6725

1630 N 77 SUNSHINE STRIP TUESDAY 8:00-6:00 {956-440-6798 FAX
CDL WRITTEN TESTS THAT DO NOT REQUIRE A ROAD EXAM ARE GIVEN AT THIS LOCATION

78550 NO CDL DRIVE TESTS

KINGSVILLE 309 3A6 MON - FRI 8:00-5:00 |361-592-1911

725 E. YOAKUM AVE., KLEBERG| 361-592-3512 FAX

CTY COURTHOUSE, ED LOPEZ BLDG

78363

LAREDO 310 3A4 MON, WED - FRI 8:00-5:00 [956-728-2301

1901 BOB BULLOCK LOOP TUESDAY 8:00-6:00 [956-728-2276 FAX

78043

Last Upate: 5/7/2014

REGION 3-WESLACO
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OFFICE’ STATION #| AREA DAYS OPEN HOURS [CONTACT NUMBERS |
MCALLEN 320 3Al MON, WED-FRI 8:00 - 5:00 {956-565-7200
1414 N BICENTENNIAL BLVD TUESDAY 8:00-6:00 |FAX

* 78501 CDL WRITTEN TESTS THAT DO NOT REQUIRE A ROAD EXAM ARE GIVEN AT THIS LOCATION

NO CDL DRIVE TESTS

MISSION 329 3A1 MON - FRI 8:00 - 5:00 |956-205-7070
722 N. BREYFOGLE STE A RENEWALS/ NO FAX YET
78572 DUPLICATES ONLY
RIO GRANDE CITY 324 3Al MON - FRI 8:00 - 5:00 |956-716-4844
100 FM 3167 STE 218 NO CDL DRIVE TESTS 956-716-8154 FAX
78582 - New DL facility estimated completion date is Unknown
SINTON 317 3A6 MON - FRI 8:30-5:00 361-364-1956
120 E. FULTON CLOSED LUNCH 12:00 - 1:15 |361-364-3121 FAX
78387 DRIVE TESTS THURSDAY-APPOINTMENT ONLY; NO CDL DRIVE TESTS
UVALDE 318 3A7 MON-FRI 8:00-5:00 |830-278-5630
2901 E. MAIN 830-278-3732 FAX
78801
WESLACO 321 3A2 MON, WED - FRI 8:00 - 5:00 [956-565-7200
2525 N INTERNATIONAL BLVD TUESDAY 8:00-6:00 [956-565-7205 FAX
78599
ZAPATA 394 3A4 MON - FRI 8:30-5:00 |956-765-9917
607 N. US HIGHWAY 83, STE F CLOSED LUNCH 12:00 - 1:15 |956-765-9989 FAX
78076 NO CDL DRIVE mr

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Last Upate: 5/7/2014 REGION 3-WESLACO
REGION 4 - MIDLAND

ESTELLA VALENZUELA, MANAGER PHONE 432-498-2351 2405 S LOOP 250 WEST
CELL 432-553-6968 MIDLAND 79703
DAWN CALBILLO, ADMIN. ASST. PHONE 432-498-2350
FAX 432-498-2374
DAVID BARBER, ASST. MGR PHONE 915-849-4150 11612 SCOTT SIMPSON
4A01-4A04 CELL, 915-342-6319 EL PASO 79936
BARBARA SHERWOOD, ADMIN. ASST. PHONE 915-849-4140
FAX 915-849-4114
LETICIA ARANDA-SARABIA, ASST, MGR PHONE 432-363-7424 1910 IH-20 WEST
(4A5-4A8) CELL 432-553-7062 ODESSA 79763
| OFFICE SUPERVISORS: ]
BERTHA MONTELONGO 4Al PHONE 915-849-4151 11612 SCOTT SIMPSON
(EL PASO - SCOTT SIMPSON) CELL 915-309-2859 EL PASO 79936
MANDIE BARRAZA LEAD
MARIA (CHRIS) FRANCO 4A2 PHONE 915-751-6455 4505 HONDO PASS
(EL PASO - HONDO PASS, FORT BLISS) CELL ~—_(‘915-217-5928 EL PASO 79904
JUAN HIDALGO LEAD
MARTHA HERNANDEZ 4A3 PHONE 915-877-1647 1854 NORTHWESTERN
(EL PASO - NORTHWESTERN) CELL 915-261-5437 EL PASO 79912
KIMBERLYE ORTIZ LEAD
SHEILA EDWARDS 4A4 PHONE 915-598-3487 7300 GATEWAY EAST
(EL PASO - GATEWAY EAST, CELL 915-309-468 1 EL PASO 79915
VAN HORN)
ALEJANDRO TORRES LEAD
ANNETTE REYES 4AS PHONE 432-498-2353 2405 S LOOP 250 WEST
(MIDLAND, ANDREWS, CELL 432-559-7263 MIDLAND 79703
BIG SPRING, LAMESA
SEMINOLE, STANTON)
SONYA GONZALES LEAD CELL 432-270-8147
LISA ESCOVEDO 4A6 PHONE 432-363-7450 1910 IH-20 WEST
(ODESSA, CRANE, CELL 432-270-8002 ODESSA 79763
BIG LAKE)
MARIA MENDOZA LEAD CELL 432-770-8014

Last Update: 5/7/2014

REGION 4-MIDLAND
OFFIC

SUPERVISORS: |

CARLOS ORTEGA, JR. 4A7
(ALPINE, FORT STOCKTON,

KERMIT, MONAHANS,

PECOS, PRESIDIO)

CYNDEE STEVENS 4A8
(SAN ANGELO, BRADY,

SONORA)

KATHY KEMP LEAD

Last Update: 5/7/2014

PHONE
CELL

PHONE
CELL

CELL

432-336-5001
432-923-3295

325-223-6852
325-315-8038

325-340-2151

2302 W DICKINSON
FORT STOCKTON 79735

1600 W LOOP 306
SAN ANGELO 76904

REGION 4-MIDLAND
OFFICE-ase 2:13-cv-001 SsTAODUN ENT CREA |FIl@A C8 GHENI/14 In T4ORRsPaAge|NOUBERS oo
ALPINE ° 403 4A7 MON - FRI 8:30 - 5:00 432-837-7580
3500 N HWY 118 432-837-7563 FAX
79830

ANDREWS 404 4A5 MON - FRI 8:30 - 5:00 432-524-1425

201 N MAIN #210 CLOSED LUNCH 1:00 - 2:00 432-524-1443 FAX
ANDREWS CO COURTHOUSE

T9714

BIG LAKE 487 4A6 WED & THUR 9:15 - 3:45 325-884-2301
COURTHOUSE ANNEX (CRANE) 325-884-4110 FAX
300 PLAZA

76932

BIG SPRING 407 4A5 MON - FRI 8:30 - 5:00 432-267-5671

5725 IH 20 WEST Ist, 3rd & Sth TUESDA 8:30 - 5:00 432-263-1040 FAX
PO BOX 2888

79721

BRADY 635 4A8 MON - FRI 8:30 - 5:00 325-597-1188

306 W LOCKHART ST CLOSED LUNCH 12:00 - 1:00 325-597-1188 FAX
76825

CRANE 481 446 | MON, TUES & FRI 8:30 - 5:00 432-558-3292

1212 S ALFORD 432-558-1196 FAX
79731

EL PASO - SS 426 4A MON - FRI 8:00 - 5:00 (MST) {915-849-4100
11612 SCOTT SIMPSON TUESDAY 8:00 - 6:00 915-849-4114 FAX
79936 915-849-4009 FAX
EL PASO - HONDO PASS 416 4A2 MON - FRI 8:00 - 5:00 (MST) |915-751-6455
4505 HONDO PASS TUESDAY 8:00 - 6:00 915-751-6456
79904 915-755-0575 FAX
EL PASO - N'WESTERN 405 4A3 MON - FRI 8:00 - 5:00 (MST) [915-877-1647

1854 NORTHWESTERN TUESDAY 8:00 - 6:00 915-877-1657
79912 915-877-2364 FAX
EL PASO-GATEWAY 415 4A4 MON - FRI 7:00 - 6:00 (MST) |915-598-3487
7300 GATEWAY EAST 915-598-3488
79915 915-598-1149 FAX
FORT BLISS 440 4A2 MON - FRI 7:00 - 4:00 (MST) |915-568-8631

505 PERSHING RD, RM A154 NO DRIVING 915-568-8625
79916 EXAMS 915-568-8626 FAX
FORT STOCKTON 417 AAT MON - FRI 8:30 - 5:00 432-336-5001

2302 W DICKINSON 432-336-3414
79735 432-336-6811 FAX

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REGION 4-MIDLAND

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OFFICE STATION # AREA DAYS OPEN HOURS NUMBERS
KERMIT 418 4A7 WEDNESDAY 8:30 - 4:15 432-586-3134

401 S PINE ST THURSDAY 9:00 - 3:45 432-586-3134 FAX
79745 =
LAMESA 419 4A5 MON - FRI 8:30 - 5:00 806-872-8675

608 N MAIN CLOSED LUNCH 12:30 - 1:30 806-872-9494
79331 806-872-5065 FAX
MIDLAND 401 4A5 MON - FRI 8:00 - 5:00 432-498-2355

2405 S LOOP 250 W TUESDAY 8:00 - 6:00 432-498-2374 FAX
79703

MONAHANS 420 4A7 MON, TUES, 8:30 - 5:00 432-943-4701

3600 S STOCKTON THURS, FRI 432-943-5857
79756 432-943-4701 FAX
ODESSA 421 4A6 MON - FRI 8:00 - 5:00 432-332-0637

1910 IH-20 WEST TUESDAY 8:00 - 6:00 432-363-7470 FAX
79763 CDL driving exams will be temporarily administered in the Midland driver license office (4/24/2014)
PECOS 422 4A7 MON, TUES, 8:30 - 5:00 432-447-3532

148 N FRONTAGE RD., WED, FRI 432-447-3533

1-20 WEST

79772 432-447-3535 FAX
PRESIDIO 448 4A7 MON - FRI 8:30 - 5:00 432-229-3768

800- A N BUS. HWY 67 432-229-3768 FAX
PO BOX 806

79845

SAN ANGELO 423 448 MON - FRI 8:00 - 5:00 325-223-6903

1600 W LOOP 306 TUESDAY 8:00 - 6:00 325-223-6936 FAX
76904

SEMINOLE 424 4A5 MON - FRI 8:30 - 5:00 432-758-3112

101 S MAIN, ROOM 105 CLOSED LUNCH 12:00 - 1:00 Ext. 4001

79360

SONORA 482 4A8 THURSDAY 9:30 - 3:15 325-387-5701

CTY COURTHOUSE (SAN ANGELO) CLOSED LUNCH 12:00 - 1:00

102 N WATER AVE

76950

STANTON 474 4A5 TUESDAY 9:00 - 4:00 432-607-3511

301 ST PETER STREET (BIG SPRING) CLOSED LUNCH 1:00 - 2:00 432-756-3336 FAX
79782

VAN HORN 428 4A4 THURSDAY 9:00 - 5:00 (CST) [432-283-2039

1300 N FRONTAGE RD, TH-1{
79855

(EL P - GATEWAY)

432-283-2741
432-283-9072 FAX

Last Update: 5/7/2014

REGION 4-MIDLAND
REGION 5- LUBBOCK

TOMAS VALDEZ, MANAGER PHONE 806-740-8956: 58956 1404 LUBBOCK BUSINESS PARK BLVD.
® CELL 806-470-0255 LUBBOCK 79403
BARBARA MUNIZ, ADMIN. ASST. PHONE 806-740-8954: 58954
FAX 806-740-8993
CHRISTIAN SLEDGE, ASST. MANAGER PHONE 806-740-8955: 58955 1404 LUBBOCK BUSINESS PARK BLVD.
(5A1-5A5) CELL 806-319-2535 LUBBOCK 79403
PABLO GARCIA, ASST. MANAGER PHONE 940-851-5640 5505 N CENTRAL EXPRESSWAY
(SA6-5A8) CELL 940-235-9268 WICHITA FALLS 76306
BETHANY CHALLIS, ADMIN. ASST. PHONE 940-851-5648
FAX 940-851-5625
| OFFICE SUPERVISORS:
GINGER LAWTON 5A1 PHONE 806-740-8948 1404 LUBBOCK BUSINESS PARK BLVD.
(LUBBOCK) LUBBOCK 79403
CHRISTINA MICKLEY LEAD
VANESSA KELLEY 5A2 PHONE 806-293-2508, Ext. 3521'1108 S, COLUMBIA
¢ (PLAINVIEW, CROSBYTON, CELL 806-224-5965 PLAINVIEW 79072
DIMMITT, FLOYDADA, FRIONA,
HEREFORD, LITTLEFIELD,
MULESHOE, TULIA)
ANGIE WEEMS LEAD CELL
MARY VANOVER 5A3. PHONE. _—_806-468-1450: ext, 5145(4200 CANYON DRIVE
(AMARILLO) CELL AMARILLO 79109
PATTI HERBSTRITT LEAD CELL
JOSEFA (JOSIE) TRIPLETT 5A4. PHONE 806-637-3625, Ext, 5002 802 N BALLARD
(BROWNFIELD, DENVER CITY CELL 806-392-4792 BROWNFIELD 79316
LEVELLAND)
GINA MINYARD 5A5 PHONE 806-665-7160 2909 PERRYTON PRWY
(PAMPA, BORGER, CELL 806-663-9129 PAMPA 79065
CANADIAN, DUMAS
DALHART, PANHANDLE,
PERRYTON
BETTY ANN COLEMAN LEAD CELL

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REGION 5-LUBBOCK
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OFFICE SUPERVISORS:
BOBBY GONZALES 5A6 PHONE 940-851-5641 5505 N CENTRAL EXPRESSWAY
(WICHITA FALLS, BOWIE CELL 940-447-7393 WICHITA FALLS 76306
CHILDRESS, CLARENDON, VERNON =
QUANAH)
TERESA GONZALEZ LEAD PHONE 940-851-5643
CINDY BALLEW 5A7 PHONE 940-549-1490 142 ELM
(GRAHAM, BAIRD, CELL 817-565-6369 GRAHAM 76450
BALLINGER, BRECKENRIDGE,
BROWNWOOD, COLEMAN,
COMANCHE, EASTLAND, HASKELL
MUNDAY, SEYMOUR)
TANA CARR LEAD PHONE 940-549-1490
VACANT 548 PHONE 325-695-0988, Ext. 5424'4649 § IST ST
(ABILENE, ANSON, CELL 325-232-1913 ABILENE 79605
COLORADO CITY, ROBY
SNYDER, SWEETWATER)
JULIE BULLARD LEAD PHONE 325-573-5631, Ext. 50325

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REGION 5-LUBBOCK
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[OFFICE STATION #| AREA DAYS OPEN HOURS CONTACT NUMBERS
ABILENE 402 5A8 MON - FRI 8:00-5:00 —|325-695-0988 (54237)
4649 SOUTH IST ST TUESDAY 8:00-6:00 |325-695-0970 FAX
79605
AMARILLO 502 SA3 MON - THUR 7:30-6:00 — |806-468-1400; 51460
4200 CANYON DRIVE FRIDAY 7:30-5:00  |806-468-1445 FAX
79109
ANSON 473 5A8 MON, TUES, THURS 8:30 - 5:00 325-823-3631
1110 W. COURT PLAZA WED 2ND & 4TH 325-823-2460 FAX
79501 CLOSED LUNCH 12:00 - 1:00
BAIRD 477 5A7 WEDNESDAY 9:00 - 4:00 325-854-5844
100 W 4th STREET (EASTLAND) IST, 3RD, 5TH
CALLAHAN CO COURT CLOSED LUNCH 12:00 - 1:00
79504
BALLINGER 406 5A7 TUES - WED 8:45 - 4:15 325-365-2161
RUNNELS CO. COURT ANNEX (COLEMAN) CLOSED LUNCH 12:00 - 1:00
602 STRONG
76821
BORGER 503 5A5 MON - FRI 8:00 - 5:00 | 806-273-2453
3249 FAIRLANES BLVD TUES IST 3RD 5TH 8:30 - 5:00
79007 CLOSED LUNCH IST, 3RD, STH TUES
BOWIE 504 5A6 MON - TUES 9:00-5:00 940-872-1496
603 DECATUR ST WED-FRI 8:00-5:00 |940-872-6480 FAX
76230 CLOSED LUNCH 12:00 - 1:00
BRECKENRIDGE 408 5A7 TUES 1:30-5:00 |254-599-2664
STEPHENS CO COURTHOUSE WED & THURS 8:30 - 5:00
200 W WALKER CLOSED LUNCH WED/TH] — 12:00 - 1:00
76424
BROWNFIELD 505 5A4 MON - FRI 8:30-5:00 {806-637-3625 ext. 50023
802 N BALLARD CLOSED LUNCH 12:00 - 1:00 |806-637-3050 FAX
79316
BROWNWOOD 409 5A7 MON - FRI 8:00 - 5:00 325-646-0180
1516 MARKET PLACE BLVD 325-646-0978 FAX
76801
CANADIAN 583 5A5 2nd & Sth TUES 9:00-4:00 — {806-323-9898
HEMPILL CO COURTHOUSE (PERRYTON) WEDNESDAY 9:00 - 4:00
400 MAIN CLOSED LUNCH 12:00 - 1:00
79014
CHILDRESS 507 5A6 MON-WED & FRI 8:00-5:00  |940-937-2560
1700 AVE F NW, SUITE A THURSDAY 8:30-5:00 — Jext. 50823 & 50824
79201 CLOSED LUNCH 12:00 - 1:00
CLARENDON 574 5A6 THURSDAY 9:00 - 3:45 806-874-5188
723 W 2ND STREET (CHILDRESS) CLOSED LUNCH 12:00 - 1:00
79226
@ooumas 410 5A7 | MON.THURS,FRI | 8:30-5:00 [325-625-2600
112 NORTH CONCHO (BROWNWOOD) CLOSED LUNCH 12:00 - 1:00
76834
COLORADO CITY 411 5A8 MONDAY 8:30-5:00 |325-728-5214
333 PINE STREET CLOSED LUNCH 1:00 - 2:00
ape [pdate: 5/7/2014 FRIDAY 8:30 - 1:00 REGION 5-LUBBOCK

